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 1                                                                HONORABLE RONALD B. LEIGHTON
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 8                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 9                                            AT TACOMA
10     UNITED STATES OF AMERICA,
11                                                       Case No. CR98-0690RBL
                              Plaintiff,
12                     v.                                ORDER
13     JUWAYNE PINCKNEY,
14                            Defendant.
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17          THIS MATTER comes on before the above-entitled Court upon Defendant’s Motion to Reconsider

18   [Dkt. #638].

19          Having considered the entirety of the records and file herein, the Court rules as follows:

20          On January 12, 2007 this Court sentenced Mr. Pinckney to 12 months in custody for violations of his

21   conditions of supervised release.     The Court did not order any further supervised release to follow

22   incarceration. Based upon the previous revocations of Mr. Pinckney’s supervised release, the maximum term

23   permitted for this revocation was 24 months custody.

24          Mr. Pinckney reiterates his request made at sentencing for credit for 10 extra days spent in the King

25   County Jail on the state misdemeanor charge that was the basis for one of the charged violations of his

26   supervised release. He also asks for credit for approximately two months spent on electronic home monitoring.

27   Mr. Pinckney was on electronic home monitoring as a result of a previous violation of his supervised release.

28   His failure to successfully complete the proscribed term of electronic home monitoring resulted in one of the


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 1   charged violations before the Court and the issuance of a warrant for his arrest.
 2             Mr. Pinckney has had his supervised release revoked twice and modified twice. The maximum possible
 3   punishment for Mr. Pinckney’s violations of supervised release is 24 months. The Court sentenced him to 12
 4   months, well below the maximum possible sentence available. The Court declines to modify the sentence and
 5   give Mr. Pinckney credit for time served in the King County Jail or on electronic monitoring (from which he
 6   absconded). Defendant’s Motion to Reconsider [Dkt. #638] is DENIED.
 7             IT IS SO ORDERED.
 8             The Clerk shall send uncertified copies of this order to all counsel of record, and to any party appearing
 9   pro se.
10             Dated this 7th day of February, 2007.


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                                               RONALD B. LEIGHTON
13                                             UNITED STATES DISTRICT JUDGE
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